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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In re:                              )
                                     )
 WW Contractors, Inc.,               )                   Case No. 18-12095-BFK
                                     )                   Chapter 11
                                     )
                      Debtor.        )
 ____________________________________)

                             DEBTOR’S MOTION TO DISMISS CASE
          WW Contractors, Inc. (the “Debtor”), the debtor and debtor-in-possession in the above

 captioned chapter 11 bankruptcy case, respectfully submits this Debtor’s Motion to Dismiss Case

 (the “Motion”) requesting the entry of an order pursuant to Section 1112(b)(1) of Title 11 of the

 United States Code (the “Bankruptcy Code”) dismissing this bankruptcy case. In support of the

 Motion, the Debtor respectfully states as follows.

                                                Jurisdiction

          1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

          2.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.     The statutory predicate for the relief requested 11 U.S.C. § 1112(b)(1).

                                             Factual Background

          4.     On June 12, 2018, the Debtor filed a voluntary petition under Chapter 11 of the

 Bankruptcy Code in the United States Bankruptcy Court for the District of Maryland (the

 “Maryland Court”). This chapter 11 case was filed on short notice due to the Debtor’s concerns

 about its ability to pay its operating expenses. These concerns were precipitated by several

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 issues including rapidly increasing costs associated with a professional employer organization

 (“PEO”) used by the Debtor and creditor pressure stemming from several merchant cash advance

 loans obtained by the Debtor to help cover the Debtor’s increasing costs to the PEO.

         5.      On June 14, 2018, the Maryland Court entered an order transferring this case to

 the United States Bankruptcy Court for the Eastern District of Virginia (the “Court”). No official

 committee of unsecured creditors has been formed in this case.

                                           Relief Requested

         6.      The Debtor, in the exercise of its business judgment and consistent with its duties,
 has determined for the reasons set forth below that it is in the best interest of creditors of its

 estate to dismiss this case.

                                            Basis for Relief

         7.      Section 1112(b)(1) provides that “… on request of a party in interest, and after

 notice and a hearing, the court shall convert a case under this chapter to a case under chapter 7 or

 dismiss a case under this chapter, whichever is in the best interests of creditors and the estate, for

 cause …” 11 U.S.C. § 1112(b)(1). Although “party in interest” is not expressly defined in the

 Bankruptcy Code, section 1109(b) indicates that the term party interest is inclusive of the debtor.

 See 11 U.S.C. § 1112(b) (“A party in interest, including the debtor, the trustee, a creditors’

 committee, an equity security holders' committee, a creditor, an equity security holder, or any

 indenture trustee, may raise and may appear and be heard on any issue…”) (emphasis added);

 see also In re Page, 118 B.R. 456, 458 (Bankr. N.D. Tex. 1990) (“The term ‘party in interest’ is

 not defined in § 101, but it is defined in a non-exclusive way in § 1109(b) as including the

 debtor…”); see also In re Refine Const. Co., Inc., 175 B.R. 827, 829 (Bankr. E.D.N.Y. 1994).

         8.      Here, cause exists for the Court to dismiss the Debtor’s chapter 11 bankruptcy

 case because dismissal is in the best interest of creditors of the Debtor’s estate. Following its

 engagement as counsel to the Debtor in late October, WTP has worked closely with the Debtor’s

 financial professionals to analyze the Debtor’s business operations and cash flow, and to develop

 a reorganization strategy that will result in a successful chapter 11 plan of reorganization. The

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 Debtor’s professionals have determined that the Debtor is a profitable business, even when

 taking into account the significant costs of administering this bankruptcy case (such as payments

 to professionals and United States Trustee fees). The Debtor has timely paid its post-petition

 payroll obligations and has been able to maintain its relationships with suppliers and

 subcontractors. It remains a viable going concern.

         9.      However, the Debtor and its professionals are concerned that, while the business

 is profitable, it is not currently generating sufficient cash flow necessary to support a confirmable

 plan of reorganization. Specifically, the Debtor is concerned that a chapter 11 plan of
 reorganization based on its current net cash flow may not be able to pay administrative creditors

 in full on the effective date or provide a meaningful return to unsecured creditors.

         10.     But, upon analyzing the Debtor and its operations, the Debtor’s professionals

 believe that the Debtor can enact structural and operational changes that would greatly increase

 its profitability and thus its ability to repay its creditors. The Debtor intends to retain, and

 already has begun seeking, an experienced turnaround professional to streamline the Debtor’s

 business operations, eliminate unnecessary expenses, and restructure the Debtor’s management

 in order to maximize its profitability. The Debtor believes that these changes alone will greatly

 improve the Debtor’s financial performance and stability. The Debtor also intends to seek out

 additional contracts to increase its overall revenue, which will further strengthen the Debtor’s

 finances. The Debtor intends to move quickly to implement these changes which will then allow

 it to better address its financial obligations.

         11.     In the exercise of its business judgment, the Debtor believes that the dismissal of

 this bankruptcy case will best allow it to effectuate the changes described above. Upon

 consultation with its financial professionals, the Debtor is unsure that it can sustain both the costs

 of restructuring its company and operations as well as the substantial administrative costs

 incurred in connection with this bankruptcy case for the period necessary to effectuate such

 restructuring and maximize its cash flow. As discussed above, the Debtor has determined that it

 requires the assistance of an experienced turnaround professional to improve its business

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 operations and increase its profitability. The dismissal of this case will permit the Debtor to

 devote funds currently paying the administrative costs of this case, most significantly fees to the

 United States Trustee totaling approximately $40,000.00 to $50,000.00 per quarter1 and

 professional expenses incurred in prosecuting this case, to the employment of this turnaround

 professional and the restructuring of its operations.

            12.      Further, unlike many bankruptcy cases, the Debtor does not believe that the

 protections and tools afforded by the Bankruptcy Code are necessary to implement the initial

 changes required to restructure its business operations and to maximize profitability. The
 changes that the Debtor must initially implement are internal, and do not involve the sale of

 assets, avoidance of contracts or leases, or other actions that are facilitated by the Bankruptcy

 Code. Rather, the Debtor requires time to retain its turnaround expert, implement the necessary

 changes to the Debtor’s structure and operations, and maximize its cash flow in order to

 determine the best means of resolving its obligations to creditors. Dismissing this case will

 allow the Debtor and its professionals to devote their full time and resources to fixing the

 company. Once these changes are made, the Debtor will be well positioned to address its debts

 and other financial commitments, whether through negotiations with individual creditors outside

 of the bankruptcy process or through a strategic, well-planned, and financially viable chapter 11

 case.

                                                      Conclusion

            13.      Based on the foregoing, the Debtor requests that this Court dismiss its bankruptcy

 case, without prejudice, to permit the Debtor to restructure its internal operations and maximize

 profitability. Once the necessary internal changes have been made, the Debtor will be in the best

 position to address its financial obligations to creditors. The Debtor believes that this result is in

 the best interest of creditors and other parties in interest, including the Debtor’s employees,

 subcontractors, and customers. The Debtor’s proposed strategy will allow it to provide the

 maximum possible return to creditors, which the Debtor believes will greatly exceed any
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     The Debtor’s fees to the United States Trustee are now 1% of the Debtor’s total quarterly disbursements.

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 expected recovery in its current bankruptcy case. Also, as the Debtor remains profitable,

 dismissal will allow the Debtor to continue operating and thus preserve the jobs of its 142

 employees and many other employees indirectly employed by its subcontractors. The Debtor

 believes that this is the best result for all parties.

           WHEREFORE, the Debtor respectfully requests that the Court enter an order dismissing

 this case without prejudice and granting such other and further relief as the Court deems just and

 proper.


 Dated: November 16, 2018                              WHITEFORD TAYLOR & PRESTON, LLP

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                                                       Proposed Counsel for WW Contractors, Inc.



                                       CERTIFICATE OF SERVICE

        I hereby certify that on November 16, 2018, I caused a copy of the foregoing Motion to
 be served via the Court’s Electronic Case Filing System on all parties requesting notice thereby,
 and by first-class mail, postage prepaid, on the parties on the attached Service List.2


                                                       /s/ David W. Gaffey
                                                       Counsel




 2 Pursuant to Local Bankruptcy Rule 5005-1(8)(C), the service list is not being served with the mailed version of
 this pleading, but is available electronically via PACER as an attachment to the version filed with the Court.

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